                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                         CEDAR RAPIDS DIVISION


JEREMY KARG; MATTHEW R.                             No. 18-CV-134-CJW-KEM
LAMARCHE; CYNTHIA K.
MARSHALL; SHIRLEY RHODES; and
                                                              Judgment
JEANINE E. VEGA, on behalf of
themselves and all others similarly
situated,
               Plaintiffs,
vs.
TRANSAMERICA CORPORATION;
TRUSTEES OF THE AEGON USA,
INC. PROFIT SHARING TRUST; and
DOES 1–40,
               Defendants.
                                ____________________
        ORDER APPROVING CLASS ACTION SETTLEMENT, ATTORNEYS’
                FEES, COSTS, AND SERVICE AWARDS
      This matter is before the Court on plaintiffs’ Unresisted Motion for Final Approval
of Class Action Settlement (the “Motion for Final Approval”) between plaintiffs Jeremy
Karg, Matthew R. Lamarche, Cynthia K. Marshall, Shirley Rhodes, and Jeanine E. Vega
(“plaintiffs”), individually and on behalf of a class of participants in the Transamerica
401(k) Retirement Savings Plan (the “Plan”), and defendants Transamerica Corporation,
Trustees of the AEGON USA, Inc. Profit Sharing Trust, and Does 1–40 (“defendants”),
as set forth in the parties’ Class Action Settlement Agreement (the “Settlement
Agreement”). (Doc. 95).




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      This matter is also before the Court on plaintiffs’ Motion for Attorneys’ Fees
(Doc. 92) as amended by plaintiffs’ Notice (Doc. 96). Defendants took no position on
plaintiffs’ requested attorneys’ fees nor on the valuation of the prescribed nonmonetary
relief. (See Doc. 95-1, n.1).
      Having considered the briefs, exhibits, and other attachments submitted by
plaintiffs, the Court grants both Motions.
      In doing so, the Court states, finds, and orders as follows:
      1.     Plaintiffs, on their own behalf and on behalf of the Class and the Plan, and
defendants have entered into a Settlement Agreement dated June 22, 2021, (Doc. 82–2),
that provides for a complete dismissal with prejudice of all claims asserted in the Action
against defendants by the Class on the terms and conditions set forth in the Settlement
Agreement, subject to the approval of this Court;
      2.     The capitalized terms not defined in this Final Approval Order have the
same meaning ascribed to them in the Settlement Agreement (Doc. 82-2);
      3.     In its Preliminary Approval Order (Doc. 87), the Court, among other
things, (1) preliminarily approved the Settlement; (2) directed notice to be given to the
Class and approved the form and manner of the Notice; and (3) scheduled a Fairness
Hearing;
      4.     Due and adequate notice has been given to the Class;
      5.     The Court conducted the Fairness Hearing on November 19, 2021, at 10:00
a.m. CST, in courtroom 3, United States Courthouse, 111 Seventh Avenue SE, Cedar
Rapids, IA 52401, to consider, among other things: (1) whether the proposed Settlement
Agreement is fair, reasonable, adequate, and in the best interests of the Class and should
be finally approved by the Court; (2) whether Class Counsel’s application for Attorneys’
Fees and Expenses (Docs 92; 96) is reasonable and should be approved; (3) whether
plaintiffs’ requests for Service Awards are reasonable and should be approved; and (4)




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whether this Final Approval Order should be entered dismissing with prejudice all claims
asserted in this Action against defendants;
       6.     The Court reviewed and considered the Settlement Agreement (Doc. 82-2),
all papers filed and proceedings held in this Action in connection with the Settlement, all
oral and written comments received regarding the Settlement, and the record in the
Action, and good cause appearing therein;
       7.     The Court has jurisdiction over the subject matter of the Action, and all
matters relating to the Settlement Agreement (Doc. 82-2), as well as personal jurisdiction
over all the Parties and each of the Class Members;
       8.     For purposes of this Final Approval Order, the Court adopts by reference
the definitions set forth in the “Definitions” section of the Settlement Agreement. (Doc.
82-2, at 1–7);
       9.     The Court finds that distribution of the Court-approved Notice (Doc. 82-
5): (a) was implemented in accordance with the Preliminary Approval Order (Doc. 87);
(b) constituted the best notice reasonably practicable under the circumstances;
(c) constituted notice that was reasonably calculated, under the circumstances, to apprise
all Class Members of the pendency of the Action, of the effect of the Settlement
Agreement (Doc. 82-2) (including the releases provided for therein), of their right to
object to the Settlement and appear at the Fairness Hearing, and of Class Counsel’s
Motion for Attorneys’ Fees, Reimbursement of Expenses, and Service Awards;
(d) constituted due, adequate, and sufficient notice to all persons or entities entitled to
receive notice of the proposed Settlement Agreement; and (e) satisfied the requirements
of Rule 23 of the Federal Rules of Civil Procedure, the United States Constitution
including the Due Process Clause, and all other applicable laws and rules;
       10.    The Court finds that no Class Member filed objections to the Settlement;




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        11.   The Court finds that the Settlement Agreement is approved as fair,
reasonable, and adequate, under Federal Rule of Civil Procedure 23(e). The Court
further finds that each and every term, provision, condition, and agreement of the
Settlement Agreement is adopted, incorporated, and made part of this Judgment, as if
copied herein, and shall be effective, implemented, and enforced as provided in the
Settlement Agreement. (Doc. 82-2). The Parties are directed to implement, perform,
and consummate the terms and provisions of the Settlement Agreement. (Doc. 82-2);
        12.   The Court approves service awards of $15,000 each for plaintiffs Jeremy
Karg, Matthew R. Lamarche, Cynthia K. Marshall, Shirley Rhodes, and Jeanine E.
Vega.
        13.   The Court approves Class Counsel’s request for attorneys’ fees (Doc. 92)
in the amount of $1,950,000.00 and reimbursement of litigation expenses in the amount
of $393,833.59. (Docs. 92; 96). The Court additionally finds the costs of the Settlement
Administrator and Independent Fiduciary reasonable;
        14.   Without affecting the finality of this Final Approval Order in any way, the
Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of
the administration, interpretation, implementation, and enforcement of the Settlement
Agreement; and (b) the disposition of the Settlement Fund;
        15.   The Court finds and concludes that the Parties and their respective counsel
have complied in all respects with the requirements of Rule 11 of the Federal Rules of
Civil Procedure in connection with the commencement, maintenance, prosecution,
defense, and settlement of the claims asserted in the Action;
        16.   As of the Effective Date, under Federal Rule of Civil Procedure 54(b), all
of the claims asserted in this Action against defendants are hereby dismissed with
prejudice. The Parties shall bear their own costs and expenses, except as otherwise
expressly provided in this Order and in the Settlement Agreement, (Doc. 82-2);




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       17.    This Order, the Preliminary Approval Order (Doc. 87), the Settlement
Agreement (Doc. 82-2), including the exhibits thereto and the Plan of Allocation
contained therein (or any other plan of allocation that may be agreed-upon by the Parties
or approved by the Court), the negotiation of the Settlement Agreement and its exhibits,
any papers submitted in support of approval of the Settlement, and any proceedings taken
under or in connection with the Settlement Agreement or approval of the Settlement,
including any arguments proffered in connection therewith: (a) will not give rise to any
inference of, and will not be construed or used as an admission, concession, or declaration
against any of the defendants of wrongdoing or liability in the Action or any other
proceeding; (b) are not an admission of any liability of any kind, whether legal or factual;
(c) will not be used or received in evidence in any action or proceeding for any purpose,
except in an action or proceeding to enforce the Settlement Agreement, whether
affirmatively or defensively; (d) will not be construed or used as an admission,
concession, declaration or waiver by any Party of any arguments, defenses, or claims he,
she, or it may have in the event that the Settlement Agreement is terminated. This Order
and the Settlement Agreement and any proceedings taken under the Settlement Agreement
are for settlement purposes only;
       18.    Entry of Judgment. The Clerk of the Court is directed to enter this Judgment
under Rule 54(b) of the Federal Rules of Civil Procedure. This case is dismissed with
prejudice.
       IT IS SO ORDERED this 22nd day of November, 2021.



                                          ___________________________
                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa




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